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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  ABILENE DIVISION

UNITED STATES OF AMERICA,
   Plaintiff,

                                                          NO. 1:20-CR-023-11-H

GABRTEL ALONZO PTERSON (11),
  Defendant.


                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF TIIE UMTED STATES MAGISTRATE JUDGE
                          CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge-and finding that the

Defendant knowingly and voluntarily waived his right to object to the Report and

Recommendation-the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge coneeming the Plea of Guilty is correct. It is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty, and the

Defendant is hereby adjudged guilty.

       Sentence   will be imposed in accordance with the Court's scheduling order.

       SO ORDERED.

        Datedoctober    L    ,2020



                                           J      SWESLEY HENDRIX
                                                                        A:
                                                   D STATES DISTRICT JUDGE
